            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA                :   Crim. No. 1:20-CR-0017
                                        :
                                        :
                v.                      :
                                        :
                                        :
KENELM SHIRK, III                       :    Judge Jennifer P. Wilson

                                  ORDER

     AND NOW, on this 10th day of January, 2022, for the reasons set forth in

the accompanying memorandum, IT IS ORDERED THAT:

      1. The motion to suppress evidence is DENIED with respect to evidence

         seized from Shirk’s vehicle.

      2. The motion to suppress evidence is DENIED with respect to statements

         and physical evidence obtained by Chambersburg Hospital personnel.

      3. The motion to suppress evidence is GRANTED with respect to Shirk’s

         statements to FBI Special Agent Doupe.



                                            s/Jennifer P. Wilson
                                            JENNIFER P. WILSON
                                            United States District Court Judge
                                            Middle District of Pennsylvania
